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 12
                          UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14
 15
      TS-OPTICS CORPORATION,                     Case No. 8:24-cv-01974-DOC-DFM
 16
 17                      Plaintiff,              JOINT STIPULATION TO
                                                 CONTINUE SCHEDULING
 18         v.                                   CONFERENCE
 19
 20   MICROSOFT CORPORATION,                     Scheduling Conf.: January 13, 2025
                                                 Time: 8:30 a.m.
 21                      Defendant.              Courtroom: 10A
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  1         Plaintiff TS-Optics Corporation (“TS-Optics”) and Defendant Microsoft
  2   Corporation (“Microsoft”) (TS-Optics and Microsoft collectively, the “Parties”),
  3   by and through their undersigned counsel of record, hereby stipulate and request
  4   that the Court continue the scheduling conference to February 10, 2025 or a later
  5   date at the Court’s convenience.
  6         Good cause exists for this request for a continuance. On December 13, 2024,
  7   the Court set a schedule conference for January 13, 2025 at 8:30 a.m. Dkt. 17.
  8   Lead counsel for TS-Optics has a previously-scheduled trial set to start on January
  9   13, 2025 in Texas. Similarly, lead counsel for Microsoft has a previously-
 10   scheduled trial beginning on January 27, 2025. Accordingly, due to previously
 11   scheduled commitments in other cases, and the Federal holiday of Martin Luther
 12   King, Jr. Day on January 20, 2025, lead counsel for the Parties is not available for
 13   Monday scheduling conference until February 10, 2025 or later.
 14         Good cause having been shown, the Parties request that the scheduling
 15   conference be extended to Monday, February 10, 2025 or later.
 16
 17   DATED: December 18, 2024                Respectfully submitted,

 18                                           /s/ Benjamin T. Wang
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                   JOINT STIPULATION TO CONTINUE SCHEDULING CONFERENCE
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  1                          CERITICATE OF WORD COUNT
  2         The undersigned hereby certifies that the foregoing document contains 167
  3   words, which complies with the word limit of L.R. 11-6.1.
  4
                                              /s/ Benjamin T. Wang
  5
  6
  7
                              CERTIFICATE OF SERVICE
  8
            I hereby certify that all counsel of record who are deemed to have consented
  9
      to electronic service are being served with a copy of this document via the Court’s
 10
      CM/ECF system per Local Civil Rule 5-3.3 and 5.4.
 11
 12   Dated: December 18, 2024                    /s/ Benjamin T. Wang
 13                                               Benjamin T. Wang

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                    JOINT STIPULATION TO CONTINUE SCHEDULING CONFERENCE
